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                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF CONNECTICUT
                                       HARTFORD DIVISION

                                                           :
In re:                                                     :       Chapter 11
                                                           :
CARLA’S PASTA, INC., et al.                                :       Case No. 21-20111-JJT                                :
                                                           :
         Debtors.1                                         :       (Jointly Administered)
                                                           :
                                                           :
SURI REALTY, LLC,                                          :
           Movant,                                         :
v.                                                         :
                                                           :
TOWN OF SOUTH WINDSOR,                                     :       Response Date: May 17, 2021
CONNECTICUT,                                               :
          Respondent.                                      :
                                                           :

     NOTICE OF (I) DEBTORS’ MOTION FOR DETERMINATION OF TAX LIABILITY
    UNDER 11 U.S.C. §§ 105 AND 505, AND (II) CONTESTED MATTER RESPONSE DATE

        PLEASE TAKE NOTICE that on this date Carla’s Pasta, Inc. and Suri Realty, LLC, debtors
and debtors in possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases filed
the Debtors’ Motion for Determination of Tax Liability Under 11 U.S.C. §§ 105 and 505 (the
“Motion”) in the United States Bankruptcy Court for the District of Connecticut and attached hereto.
The filing of the Motion commenced a contested matter (the “Contested Matter”), which shall be
governed by the Contested Matter Procedures outlined at D. Conn. Bankr. L. R. 9014-1.

        PLEASE TAKE FURTHER NOTICE that any response to the Motion in this Contested
Matter must be filed with the Court no later than May 17, 2021 (the “Response Date”). In the absence
of a timely filed response, by the Response Date the proposed order to the Motion in this Contested
Matter may enter without further notice and hearing. See 11 U.S.C. § 102(1), and D. Conn. Bankr.
L. R. 9014-1(d)(2).

        PLEASE TAKE FURTHER NOTICE that the pleadings and other docket entries
referenced herein are available to the public at no cost on the website hosted by the Debtors’ proposed
claims      and      noticing   agent,     Stretto,     at    the    following      internet    address:
https://cases.stretto.com/CarlasPasta/court-docket.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
are Carla’s Pasta, Inc. (5847) and Suri Realty, LLC (5847). The Debtors’ corporate headquarters and service address is
50 Talbot Lane, South Windsor, Connecticut 06074.

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 Dated: April 26, 2021
                                              /s/ Adrienne K. Walker
                                             Adrienne K. Walker (admitted pro hac vice)
                                             Locke Lord LLP
                                             111 Huntington Avenue
                                             Boston, MA 02199
                                             Tel: 617-239-0211
                                             email: awalker@lockelord.com

                                             Brian A. Raynor (admitted pro hac vice)
                                             Michael B. Kind (admitted pro hac vice)
                                             Locke Lord LLP
                                             111 South Wacker Drive
                                             Chicago, IL 60606
                                             Tel: 312-201-2392
                                             email: braynor@lockelord.com
                                             email: michael.kind@lockelord.com

                                             Tara L. Trifon (ct28415)
                                             Locke Lord LLP
                                             20 Church Street 20th Floor
                                             Hartford, CT 06103
                                             Tel: 860-541-7740
                                             email: tara.trifon@lockelord.com

                                             Counsel to the Debtors and
                                             Debtors-in-Possession



                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2021 a copy of the foregoing was filed electronically, and
notice of this filing will be sent by email to all parties by operation of the court’s electronic filing
system, or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing, including the Town of South Windsor (Attn: Tax Collector). Parties in interest may access
this document through the court’s CM/ECF System.

                                                       /s/ Adrienne K. Walker
                                                       Adrienne K. Walker




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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                    HARTFORD DIVISION

                                                        :
In re:                                                  :     Chapter 11
                                                        :
CARLA’S PASTA, INC., et al.                             :     Case No. 21-20111-JJT
                                                        :     :
         Debtors.1                                      :     (Jointly Administered)
                                                        :
                                                        :
SURI REALTY, LLC,                                       :
           Movant,                                      :
v.                                                      :                                :
                                                        :
TOWN OF SOUTH WINDSOR,                                  :
CONNECTICUT,                                            :     Response Date: May 17, 2021
          Respondent.                                   :
                                                        :

                        DEBTORS’ MOTION FOR DETERMINATION
                     OF TAX LIABILITY UNDER 11 U.S.C. §§ 105 AND 505

         Carla’s Pasta, Inc. and Suri Realty, LLC (“Suri”), debtors and debtors in possession

(collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) file

this motion (the “Motion”) for entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”): (i) establishing the amount of real property taxes due from Suri to the

Town of South Windsor (the “Town”) with respect to the Real Property (defined herein) for tax

years 2020 and 2021 (through the closing date on the real property sale pending in the Chapter 11

Cases); (ii) compelling the Town to take any and all actions necessary to adjust its records in

accordance with the rulings of the Court; and (iii) granting such other and further relief, both legal




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Carla’s Pasta, Inc. (5847) and Suri Realty, LLC (5847). The Debtors’ corporate headquarters and service
address is 50 Talbot Lane, South Windsor, Connecticut 06074.



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and equitable, as the Court deems necessary and appropriate. In support of the Motion, the Debtors

state as follows:

                                PRELIMINARY STATEMENT

        1.     The relief requested by this Motion is limited, discrete, and in aid of the Debtors’

administration of these Chapter 11 Cases. Suri is not challenging its obligations to pay real

property taxes on its property located at 50 Talbot Lane, South Windsor, Connecticut (the “Real

Property”), nor is it appealing the gross assessment of the Real Property made by the Town and

added to its Grand List on October 1, 2019. This Motions is merely requesting this Court to

determine the mathematical calculation of the 2020 Bill (defined herein) for the Real Property as

required under the Abatement Agreement (defined herein) and to apply such calculation to the

amounts due in future tax years. The plain language of the Abatement Agreement provides Suri a

70% reduction of the Town’s gross assessment of the Real Property. The Town, however, has

delivered the 2020 Bill that improperly calculates the amount of the Abatement (defined in the

2020 Bill as the “Exemption”), which then results in an incorrect, and significantly higher, real

estate tax bill. This Motion requests the Court to establish that the 2020 Bill, if it were properly

calculated, results in a total 2020 real property tax for the Real Property at $237,320.09, and this

same methodology should be applied to calculate the 2021 and any future tax bill. The Debtors

have attempted to resolve this dispute with the Town; however, the Town has not accepted Suri’s

reading of the plain language of the Abatement Agreement. As Suri will soon be selling its Real

Property, the Debtors request a final determination of such obligations to the Town as it continues

to winddown its business operations.

                                        JURISDICTION

        2.     The United States Bankruptcy Court for the District of Connecticut (the “Court”)

has jurisdiction over these Chapter 11 Cases and the Motion pursuant to 28 U.S.C. §§ 157 and

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1334. The Court has jurisdiction under 11 U.S.C. § 505 to hear this Motion.

        3.       This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        4.       Venue of the Chapter 11 Cases and the Motion in this district is proper under 28

U.S.C. §§ 1408 and 1409.

        5.       The bases for the relief requested are sections 105(a) and 505 of title 11 of the

United States Code (the “Bankruptcy Code”).

                                               BACKGROUND

        6.       On October 29, 2020, an involuntary petition was filed against Suri. By Order

entered on December 17, 2020 [Case No. 20-21270, Dkt. No. 30], this Court converted Suri’s

involuntary case to a voluntary case under chapter 11 (the “Suri Commencement Date”).

        7.       Suri continue to operate its business and manage its properties as a debtor in

possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee, examiner, or

creditors’ committee have been appointed. The Chapter 11 Cases are jointly administered and not

substantively consolidated.

        8.       In the ordinary course of business, Suri incurs real property tax obligations in

connection with its ownership of the Real Property (the “Property Taxes”2). Pursuant to a use and

occupancy agreement between the Debtors, Carla’s Pasta is obligated to make direct payment to

the Town for, among other things, the Property Taxes.

        9.       As part of Suri and Carla’s Pasta’s business expansion, the Town and Suri entered

into that certain Agreement Regarding Real Property Tax Assessment, dated October 3, 2019 (the

“Abatement Agreement”). The Abatement Agreement is attached hereto as Exhibit B. The

Abatement Agreement expressly states:


2
  Suri is also obligated to pay real property taxes on its adjoining parcel at 280 Nutmeg Road, South Windsor,
Connecticut. This parcel is not subject to the Abatement Agreement and is not implicated by this Motion.

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        Commencing with the Grand List for the period following the issuance of the
        Certificate of Occupancy for the Facility at any time after June 1, 2019, the town
        shall grant Suri Realty a 70% reduction in its real property assessment for the
        Real Property, including the above-described Expansion and the construction of
        the Facility (the “Abatement”).

Abatement Agreement, ¶ 6. The Town issued its Certificate of Occupancy on July 19, 2019. The

Certificate of Occupancy is attached hereto as Exhibit C.

        10.    After the Abatement Agreement, the Town issued its 2020 Real Estate Tax Bill in

connection Real Property in the total amount of $502,133.50 (the “2020 Bill”), which was payable

in two installments. The 2020 Bill is attached hereto as Exhibit D.

        11.    The 2020 Bill does not reflect the correct calculation of the 70% reduction in the

Town’s real property assessment. Rather, it only provides Suri with a 36.5% reduction in its real

property assessment for the Real Property. The chart below illustrates the mathematical error in

the 2020 Bill, along with the amount Suri has determined is due when applying the plain language

of the Abatement Agreement:

                              Town’s Calculation of                 Suri’s Correct Calculation
                              2020 Bill                             of 2020 Bill
 Gross Assessment             $20,833,500                           $20,833,500 (SAME)
 Abatement/Exemption          $7,627,600                            $14,583,450
                              (36.524592% of assessed               (70% of assessed value)
                              value)
 Net Assessment               $13,255,900                           $6,265,050
 Mill Rate (based on each $37.8800 (x 13,255.90)                    $37.8800 (x 6,265.05)
 1,000 of net assessed value)
 Total 2020                   $502,133.50                           $237,320.09
 Real Property Tax

        12.     If the reduction provided in the Abatement Agreement were correctly calculated

and applied, the resulting annual 2020 tax on the Real Property would be $237,320.09, divided

into two equal payments of $118,660.05. Carla’s Pasta paid what it determined as the correct first

installment of $118,660.05 (plus interest) to the Town in November 2020, and paid the second



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installment of $118,660.05 in January 2021.

                                       BASIS FOR RELIEF

        13.       The Bankruptcy Code sets forth ample authority for the Court to determine that the

2020 Bill was incorrectly calculated and to direct the Town of South Windsor to correct the 2020

Bill. Section 505 of the Bankruptcy Code provides, in relevant part, as follows:

               Except as provided in paragraph (2) of this subsection, the court may determine the
               amount or legality of any tax, any fine or penalty relating to a tax, or any addition
               to tax, whether or not previously assessed, whether or not paid, and whether or not
               contested before and adjudicated by a judicial or administrative tribunal of
               competent jurisdiction. 11 U.S.C. § 505(a)(1).

        14.    Section 505 is specifically intended to facilitate the administration of the

bankruptcy estate by allowing debtors to determine their tax liabilities. There are only three

exceptions to Bankruptcy Code section 505(a)(l)’s broad grant of authority to determine tax

liabilities, none of which bar the Debtors’ requested relief. See 11 U.S.C. § 505 (a)(2). While the

third exception limits the ambit of Section 505 with respect to certain challenges to real property

taxes for which a timely appeal has not been filed, the Debtors’ ability to seek redress of a clear

mathematical error, e.g., the miscalculation reflected in the 2020 Bill, is not implicated by

§ 505(a)(2)(C).

        15.    The 2020 Bill is incorrect on its face, in that it does not reflect the 70% reduction

in the real property assessment. Suri is seeking relief only to apply a proper mathematical

calculation of its 2020 Bill (and any future bills), and to confirm that Suri’s prior payments of its

properly calculated amounts shall result in payment in full of its 2020 Bill. Suri has attempted to

resolve this informally through communications with the Town’s tax officials, but has been unable

to secure the correction.




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        WHEREFORE, for the foregoing reasons, the Debtors respectfully request entry of the

Order granting the relief requested herein, and granting such other relief as is just and proper.

 Dated: April 26, 2021
                                                /s/ Adrienne K. Walker
                                               Adrienne K. Walker (admitted pro hac vice)
                                               Locke Lord LLP
                                               111 Huntington Avenue
                                               Boston, MA 02199
                                               Tel: 617-239-0211
                                               email: awalker@lockelord.com

                                               Brian A. Raynor (admitted pro hac vice)
                                               Michael B. Kind (admitted pro hac vice)
                                               Locke Lord LLP
                                               111 South Wacker Drive
                                               Chicago, IL 60606
                                               Tel: 312-201-2392
                                               email: braynor@lockelord.com
                                               email: michael.kind@lockelord.com

                                               Tara L. Trifon (ct28415)
                                               Locke Lord LLP
                                               20 Church Street 20th Floor
                                               Hartford, CT 06103
                                               Tel: 860-541-7740

                                               Counsel to the Debtors and Debtors-in-Possession

                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2021 a copy of the foregoing was filed electronically, and
notice of this filing will be sent by email to all parties by operation of the court’s electronic filing
system, or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing, including the Town of South Windsor (Attn: Tax Collector). Parties in interest
may access this document through the court’s CM/ECF System.

                                                        /s/ Adrienne K. Walker

                                                        Adrienne K. Walker




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                                     Exhibit A

                                  Proposed Order




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                                 UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF CONNECTICUT
                                        HARTFORD DIVISION

                                                           :
In re:                                                     :      Chapter 11
                                                           :
CARLA’S PASTA, INC., et al.                                :      Case No. 21-20111-JJT                                 :
                                                           :
           Debtors.1                                       :      (Jointly Administered)
                                                           :
                                                           :
SURI REALTY, LLC,                                          :
           Movant,                                         :
v.                                                         :                                :
                                                           :
TOWN OF SOUTH WINDSOR,                                     :
CONNECTICUT,                                               :
          Respondent.                                      :
                                                           :

                        ORDER GRANTING DEBTORS’ MOTION TO
                  DETERMINE TAX LIABILITY UNDER 11 U.S.C. §§ 105 AND 505

           Upon consideration of the Debtor’s Motion to Determine Tax Liability Under 11 U.S.C. §§

105 and 505 (the “Motion”)2 and any response(s) to the Motion; and due and proper notice of the

Motion having been given; and it appearing that no other or further notice of the Motion is required;

and the Court having jurisdiction to consider the Motion in accordance with 28 U.S.C. §§ 157 and

1334; and consideration of the Motion and the requested relief being a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and the relief requested in the Motion and provided for herein being in the best interest of the

Debtors, their estates, and creditors; and after due deliberation and sufficient cause appearing therefor,

and due and proper notice of the Motion having been provided to the notice parties, including the



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
are Carla’s Pasta, Inc. (5847) and Suri Realty, LLC (5847). The Debtors’ corporate headquarters and service address is
50 Talbot Lane, South Windsor, Connecticut 06074.
2
    Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Motion.
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Town of South Windsor, Connecticut; and it appearing that no other or further notice need be

provided; and the Court having held one or more hearings to consider the relief requested in the

Motion and all of the proceedings had before this Court; and all objections to the Motion having been

withdrawn, resolved, or overruled; and the Court having determined that the legal and factual bases

set forth in the Motion establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor

        IT IS HEREBY ORDERED THAT:

        1.     The Motion is GRANTED as provided herein.

        2.     The Debtors’ tax liability to the Town of South Windsor in connection with its Real

Property located at 50 Talbot Lane is determined to be $257,320.10 for the 2020 tax year. For the

2020 tax year and after, the Town of South Windsor is required to reduce the gross assessment by

70% prior to calculating the real property tax due on account of the Real Property as is required under

the Abatement Agreement.

        3.     The terms and conditions of this Order are immediately effective and enforceable upon

its entry.

        4.     This Court retains jurisdiction with respect to all matters arising from or related to the

enforcement of this Order.

DATED this ______ day of __________, 2021



                                              JAMES J. TANCREDI
                                              UNITED STATES BANKRUPTCY JUDGE




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